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April 29, 2019                                                                       Edward P. Gibbons
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VIA Regular Mail & ECF
Hon. Paul A. Crotty
United States District Court Judge
Southern District of New York
500 Pearl Street, Chambers 1350
New York, New York 10007

Re:       Federal Insurance Co., et al. v. Harvey Weinstein, 1:18-cv-02526-PAC (RWLx)

Dear Judge Crotty:

       As per the court’s March 28, 2019 order, we met and conferred with Harvey Weinstein’s
new counsel, Jeffrey Schulman of Pasich LLP, and agreed on the following schedule for a brief
period of discovery and supplemental briefing limited to the question of choice of law for each of
the Chubb policies:

         Serve document requests and interrogatories: June 5

         Produce documents and respond to interrogatories: July 5

         Commence deposition discovery: July 22

         Complete discovery: September 5

         Supplemental briefs due: October 7

         Reply briefs due: October 21

      We have also attached a proposed order incorporating this agreed schedule for your
convenience. Please let us know if you need any additional information or have any questions.




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Hon. Paul A. Crotty
April 29, 2019
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                                         Respectfully submitted,

                                         WALKER WILCOX MATOUSEK LLP

                                         By: /s/Edward P. Gibbons
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                                         Attorneys for Plaintiffs


cc: All Counsel of Record (via ECF)
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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
FEDERAL INSURANCE COMPANY, et al.

                            Plaintiffs,
                    -against-
                                                     1:18-cv-02526-PAC (RWLx)
HARVEY WEINSTEIN,
                            Defendant.

HARVEY WEINSTEIN,                                    [PROPOSED] SCHEDULING
                                                     ORDER
                            Counterclaimant,
                    -against-

FEDERAL INSURANCE COMPANY, CHUBB
INDEMNITY INSURANCE COMPANY,
PACIFIC INDEMNITY INSURANCE
COMPANY, and GREAT NORTHERN
INSURANCE COMPANY,

                            Counter-Defendants.

HARVEY WEINSTEIN,
                            Third-Party Plaintiff,

                    -against-

NATIONAL UNION FIRE INSURANCE
COMPANY OF PITTSBURGH, PA, et al.

                          Third-Party Defendants.
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       The parties are to conduct further discovery pertaining to the choice of law issues raised

by and in accordance with the Order of this Court dated March 28, 2019 [Dkt. 129], and are to

comply with the following deadlines:



   a. Requests for production of documents and                  June 5, 2019
      interrogatories are to be served by:

   b. Parties to produce documents and respond to               July 5, 2019
      interrogatories:

   c. Parties to commence deposition discovery:                 July 22, 2019

   d. Parties to complete choice of law discovery:              September 5, 2019

   e. Parties to file supplemental briefs in regard to          October 7, 2019
      Federal’s Motion for Summary Judgment:

   f. Parties to file reply briefs in regard to Federal’s       October 21, 2019
      Motion for Summary Judgment:




IT IS SO ORDERED this __ day of ________________________, 2019


                                                            ___________________________
                                                            Paul A. Crotty
                                                            United States District Court Judge




                                                 2
